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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               Judge Regina M. Rodriguez


   Civil Action No. 1:19-cv-02789-RMR-KLM

   SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

   v.

   MARK RAY, et al.,

         Defendants.


                                            ORDER


         This matter is before the Court on the most recent Joint Status Report Regarding

   Issuing Subpoenas, ECF No. 74, filed by state-court-appointed Receiver Gary Schwartz.

   For the reasons stated below, the Court ORDERS that this case be administratively

   closed pursuant to Local Civil Rule 41.2, subject to re-opening for good cause.

                                    I.     BACKGROUND

         On September 30, 2019, Plaintiff the Securities and Exchange Commission filed a

   Complaint alleging that Defendants “have engaged in acts or practices or aided, abetted

   and caused . . . violations of Sections 17(a)(1), 17(a)(2), and 17(a)(3) of the Securities

   Act of 1933[;] . . . violations of Section 10(b) of the Securities Exchange Act of 1934[;

   and] . . . violations of Sections 5(a) and 5(c) of the Securities Act.” ECF No. 1 ¶¶ 10–12.

   These alleged violations arose out of what the Complaint describes as “a cattle Ponzi
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   scheme perpetrated by Mark Ray and various entities that he controls,” with which “Reva

   Stachniw and Ron Throgmartin substantially assisted.” Id. ¶ 1.

           On October 10 and 18, 2019, the Court granted Plaintiff’s Motions for Entry of

   Consent Orders, ECF Nos. 3, 10, 14, 15, and entered consent bifurcated judgments as

   to all Defendants in this case. ECF Nos. 11, 12, 16; see also ECF Nos. 47, 59 (amending

   the Consent Bifurcated Judgment as to Defendant Ronald Throgmartin). The second

   Motion for Entry of Consent Order noted that, in a parallel action in the District Court for

   the City and County of Denver, “the Colorado Securities Commissioner has obtained a

   receiver over most [of] the other defendants in this action, and the SEC believes that, in

   the near future, the receivership will be expanded to include the assets frozen as part of

   the proposed settlement that is the subject of the instant motion.” ECF No. 14 at 3. The

   Motion further states that, “[w]hen coupled with the bifurcated settlement orders already

   signed by the Court, this settlement will have the effect of administratively staying this

   case in its entirety (with the exception of potential interventions by third parties seeking

   relief of the litigation stay or asset freeze) until after the receiver distributes the assets of

   the receivership.” Id. Accordingly, upon granting that Motion, the Court “administratively

   STAYED [this case] until thirty days after any state-court-appointed receiver over the

   Defendants has obtained approval of a final plan for distributing their assets to investors,

   or until further order of this Court should no such receiver be appointed.” ECF No. 15 at

   1. The Court further ordered the parties to file joint status reports every six months. Id.

   at 2.




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          On February 5, 2020, the Receiver filed an Unopposed Motion for Relief from

   Administrative Stay for Limited Purpose of Issuing Subpoenas, ECF No. 19, arguing that,

   “[b]ecause many of the relevant documents and persons” needed to investigate the

   relevant facts and to perform a thorough forensic accounting “are located outside the

   jurisdiction of the State of Colorado, the limited reach of state court process is hampering

   the Receiver’s investigation and management of the Estate.” ECF No. 19 ¶ 8. Therefore,

   the Receiver “request[ed] that this Court lift the administrative stay for the limited purpose

   of permitting the Receiver to issue federal subpoenas pursuant to Fed. R. Civ. P. 45 for

   relevant documents and witnesses.” Id. ¶ 9. The Court granted the motion on March 3,

   2020. ECF No. 22. The administrative stay has therefore been lifted ever since, as the

   Receiver’s investigation progressed. See ECF Nos. 27, 29, 31, 34, 35, 38, 45, 58, 61,

   63, 65, 68, 70, 72 (Status Reports).

          Most recently, the Receiver filed a Joint Status Report Regarding Issuing

   Subpoenas, which states that “[a]t this point in the state court receivership case, the

   Receiver has submitted a proposed plan of distribution and has received two objections

   to the proposed plan. The Receiver has determined that neither objection will require the

   use of a federal subpoena.” ECF No. 74 ¶ 1. Therefore, the Receiver states that he “no

   longer requires the Court to maintain the Order lifting the administrative stay for the limited

   purpose of permitting the Receiver to issue federal subpoenas pursuant to Fed. R. Civ.

   P. 45.” Id. ¶ 2.




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                                       II.    ANALYSIS

          The original order administratively staying the case ordered that it be stayed “until

   thirty days after any state-court-appointed receiver over the Defendants has obtained

   approval of a final plan for distributing their assets to investors . . . .” See ECF No. 15

   at 1 (emphasis added).       The most recent Joint Status Report Regarding Issuing

   Subpoenas notes that “the Receiver has submitted a proposed plan of distribution and

   has received two objections to the proposed plan.” ECF No. 74 ¶ 1 (emphasis added).

   Therefore, it appears that the Receiver has not “obtained approval of a final plan for

   distributing [Defendants’] assets to investors,” see ECF No. 15 at 1, but federal

   subpoenas are no longer required, ECF No. 74 ¶ 2.           As such, it appears that the

   administrative stay that was lifted on March 3, 2020, ECF No. 21, may be reinstated,

   consistent with the Court’s original stay order.

          However, Rule 41.2 of the Local Civil Rules of the District of Colorado provides

   that “[a] district judge or a magistrate judge exercising consent jurisdiction may order the

   clerk to close a civil action administratively subject to reopening for good cause.”

   D.C.COLO.LCivR 41.2. “Because an administratively closed case ‘still exists on the

   docket of the district court,’ it ‘may be reopened upon request of the parties or on the

   court’s own motion.’” Patterson v. Santini, 631 F. App’x 531, 534 (10th Cir. 2015) (quoting

   Mire v. Full Spectrum Lending Inc., 389 F.3d 163, 167 (5th Cir. 2004)).

          As provided in the Local Rule, “a party seeking to reopen a case that has been

   administratively closed must demonstrate good cause.” Id.; see also D.C.COLO.LCivR

   41.2. “But courts have not viewed this good cause standard as an onerous one. Instead,



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   good cause to reopen a case exists where ‘the parties wish to litigate the remaining issues

   that have become ripe for review.’” Patterson, 631 F. App’x at 534 (citing American Fam.

   Mut. Ins. Co. v. Teamcorp, Inc., 835 F. Supp. 2d 1083, 1086 (D. Colo. 2011)). Similarly,

   here, the Court would not view the good cause standard as an onerous one, and would

   find that good cause exists to reopen the case, for example, when “thirty days after any

   state-court-appointed receiver over the Defendants has obtained approval of a final plan

   for distributing their assets to investors” has lapsed and where “the parties [may] wish to

   litigate [any] remaining issues that have become ripe for review.” See ECF No. 15 at 1;

   Patterson, 631 F. App’x at 534.

                                     III.   CONCLUSION

          For the reasons stated above, the Court ORDERS that, rather than reinstating the

   administrative stay, this case be administratively closed pursuant to Local Civil Rule 41.2,

   subject to re-opening for good cause.




          DATED: June 9, 2023

                                                    BY THE COURT:



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                                                    REGINA M. RODRIGUEZ
                                                    United States District Judge




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